 Case 1:18-cv-00851-AJT-JFA Document 4 Filed 08/03/18 Page 1 of 2 PageID# 20
                                                                                               RLOE'VED
                                                                                              f.''-iLRCCW



                       UNITED STATES DISTRICT COURT FOR THE                               iWS -3 2018
                             EASTERN DISTRICT OF VIRGINIA


                                        Alexandria Division


      CONSENT TO COLLECTION OF FEES FROM INMATE TRUST ACCOUNT



        Re; Young v. Newton et al.. I:I8cv581 (AJT/.IFA)

        I, Mitchell Young,#37461, hereby consent for the appropriate prison officials to withhold
from my prison account and forward to the United States District Court an initial payment oftwenty
percent(20%)of the greater of(a) the average monthly deposits to my account for the sixth-month
period immediately preceding the filing of my complaint OR(b)the average monthly balance in my
account for the sixth-month period immediately preceding the filing of my complaint. If both of
these averages is less than or equal to zero. 1 will not be assessed an initial payment.

      In addition to any initial payment,I further consent to the appropriate prison official to collect
monthly payments from my account until I ha\'e paid the full filing fee of $350.00. These monthly
payments will be equal to twenty percent(20%) of the preceding month's deposits to my inmate
account. Each time the amount in my account reaches or exceeds $10.00. the appropriate prison
official will forward the payment to the United States District Court. This will continue until I have
paid the full filing fee of $350.00. Accordingly. I agree to maintain a balance of twenty percent
(20%)of the previous month's income in my account I'or payment to the court. I recognize that if
I fail to maintain such a balance, my action will be immediately dismissed for failure to comply
with the Court's order,' vj. [Please initial]
        I further acknowledge that if I am transferred before payment of the full fee. the remaining
balance will be reported to the new institution with directions to continue the withdrawals offunds
until the entire fee is paid. Payment will continue, if necessarv,^after resolution of this action
until the full filing fee is paid, even if mv case i.s dismissed. /      ,    [Please initial]

        By executing this document. 1 also authorize collection of any amount of costs, sanctions,
and/or fee which may be imposed by the court as a result of or during this litigation, pursuant to 28
U.S.C. § 1915(f)(2)(B).




 lainiilTs Sign^ure                                                    Date
Case 1:18-cv-00851-AJT-JFA Document 4 Filed 08/03/18 Page 2 of 2 PageID# 21
